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1    DWIGHT M. SAMUEL (CA SB# 054486)
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     Sacramento, California 95814-2282
3    916-447-1193
4    Attorney for Defendant
     MARCUS DION BURRELL
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8
                             IN THE UNITED STATES DISTRICT COURT
9
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA, )                  Case No. 2:07-cr-00511-MCE
                                   )
13                                 )              STIPULATION AND
                       Plaintiff,  )              ORDER CONTINUING
14                                 )              STATUS CONFERENCE
           v.                      )
15                                 )
     MARCUS DION BURRELL,          )
16                                 )
                       Defendant,  )
17                                 )
     ______________________________)
18
19           It is hereby stipulated and agreed to between Marcus Dion Burrell and Michael Anthony
20   Young, by and through counsel respective counsel Dwight M. Samuel and Mike Bigelow, and
21   United States of America, by and through, Mike Beckwith, that the status conference presently
22   set for Thursday, November 20, 2008 at 9:00 a.m. be vacated and rescheduled for a status
23   conference on Thursday, December 18, 2008, at 9:00 a.m.
24           Defense requests that this case be continued for further review of discovery provided to
25   AUSA.
26           It is further stipulated that the period from November 20, 2008, through and including
27   December 18, 2008 be excluded in computing the time within which trial must commence under
28   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-4 for
                 Case 2:07-cr-00511-MCE Document 30 Filed 11/19/08 Page 2 of 2


1    continuity and preparation of counsel.
2
3    Respectfully submitted,
4
5    Dated: November 18, 2008
6                                                           /s/ Dwight M. Samuel
                                                            DWIGHT M. SAMUEL
7                                                           Attorney for Defendant, Marcus Burrell
8    Dated: November 18, 2008
9                                                           /s/ Michael Bigelow1
                                                            MICHAEL BIGELOW
10                                                          Attorney for Defendant, Michael Young
     Dated: November 18, 2008
11
12
                                                            /s/ Mike Beckwith2
13                                                          MIKE BECKWITH
                                                            Assistant United States Attorney
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15
16   IT IS SO ORDERED.
17
18    Dated: November 19, 2008

19                                                     ________________________________
                                                       MORRISON C. ENGLAND, JR.
20                                                     UNITED STATES DISTRICT JUDGE
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27          1
                Signed per telephonic authorization.

28          2
                Signed per telephonic authorization.
